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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


    PLAINTIFFS’ OPPOSED MOTION TO COMPEL DEFENDANTS TO PRODUCE
      DOCUMENTS DISCLOSED TO THE U.S. SECURITIES AND EXCHANGE
             COMMISSION AND U.S. DEPARTMENT OF JUSTICE




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         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

Rao (together, “Plaintiffs”) respectfully move this Court for an order compelling defendants

Cassava Sciences, Inc. (“Cassava”), Remi Barbier, Lindsay Burns, and Eric Schoen (collectively,

“Defendants”) to produce four documents disclosed to the U.S. Securities and Exchange

Commission (“SEC”) and U.S. Department of Justice (“DOJ”) during those agencies’ ongoing

investigations into the alleged misconduct (“Withheld Documents”) also at issue in this case.

I.       INTRODUCTION

         This securities class action was filed after two scientists filed a Citizen Petition with the

U.S. Food and Drug Administration (“FDA”) alleging that, inter alia, the scientific research

underpinning Cassava’s primary drug candidate, simufilam, suffered from widespread data

manipulation and was tainted by conflicts of interest. Shortly after the public disclosure of the

Citizen Petition, news broke that that the SEC and DOJ had both opened investigations into the

same underlying allegations. Those investigation remain ongoing.

         During the course of those investigations, Defendants made presentations to both the SEC

and the DOJ to dissuade them from bringing an enforcement action or criminal charges. Despite

Defendants’ disclosure of these documents to adversarial third parties, Defendants continue to

withhold these presentations in discovery from Plaintiffs on the basis of the work-product doctrine

and a purported “settlement privilege.” It is well established, however, that disclosure of the

information in the presentations to the SEC and DOJ waives any work-product protection.

         Further, Defendants’ assertion of a “settlement privilege,” based on the inapplicable out-

of-circuit decision in Goodyear Tire & Rubber Co. v. Chiles Power Supply, 332 F.3d 976 (6th Cir.

2003) (“Goodyear”), fails for numerous reasons. First, neither the Supreme Court nor the Fifth

Circuit (nor any other sister circuit) has recognized a federal “settlement privilege”; instead, most

have rejected it. Second, no court has ever applied a settlement privilege in the context Defendants

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assert here – voluntary disclosures to investigating government agencies. Rather, the majority of

courts have rejected the proposition that defendants may, as they advocate here, selectively waive

privilege to the government yet maintain it as to all other parties. Third, Defendants have provided

no evidence that the Withheld Documents were disclosed in furtherance of settlement discussions;

thus, such a privilege is inapplicable, even if it were recognized here (which it should not be).

         The Court should therefore compel the production of the four Withheld Documents.

II.      BACKGROUND

         A.         Plaintiffs’ Claims

         Plaintiffs allege that Defendants engaged in a fraudulent scheme and materially misled

investors regarding simufilam, a purported treatment for Alzheimer’s disease. ¶80.1 Unbeknownst

to investors, Cassava’s pre-clinical and clinical studies justifying the continued commercial

development of simufilam contained extensive data manipulation and significant anomalies, and

the research was tainted by conflicts of interest. ¶¶80-104.

         The truth began to be revealed, however, through a “Citizen Petition” to the FDA, which

raised “grave concerns” regarding “the quality and integrity of the laboratory-based studies

surrounding” simufilam. ¶¶105-130. According to the Citizen Petition, data in these studies

appearing in a string of academic journals and presentations had been manipulated and falsified.

¶¶143-251. In response to the Citizen Petition, the Company’s share price plummeted 39.9%,

between August 25 and 26, 2021. ¶¶495-498.

         On November 17, 2021, The Wall Street Journal reported that “[t]he [SEC] is investigating

claims that [Cassava] . . . manipulated research results of its experimental Alzheimer’s drug.”



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        All “¶__” or “¶¶__” are to the Consolidated Complaint for Violation of the Federal
Securities Laws (ECF 68) (“Complaint”). Additionally, emphasis is added and citations are
omitted unless otherwise noted.

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¶367. The investigation followed a meeting between the SEC and the authors of the Citizen

Petition. Id.       Then, on July 27, 2022, Reuters reported that the DOJ “opened a criminal

investigation into Cassava . . . involving whether the biotech company manipulated research results

for its experimental Alzheimer’s drug.” ¶435. Since then, on October 12, 2023, the journal

Science revealed that Cassava’s chief neuroscientists were unable to provide any original data to

investigators at the City University of New York tasked with probing the misconduct allegations

and that defendant Burns shared responsibility for certain of the alleged misconduct. ECF 129

at 7.

         B.         The Four Withheld Documents

         After agreeing to produce to Plaintiffs all documents produced in the government

investigations, Defendants withheld certain documents on a the privilege log, dated December 12,

2023. Exhibit (“Ex.”) A;2 Ex. B (noting that the process of re-producing to Plaintiffs the

documents previously produced to the SEC and DOJ had begun). The first four documents on the

log consisted of one “white paper” and three “presentations” that were disclosed to the SEC and/or

DOJ. Defendants withheld these four documents on the basis of a purported “settlement privilege”

and the work-product doctrine. Ex. A.

         Pursuant to L.R. CV-7(g), Plaintiffs met and conferred with Defendants several times

before bringing this motion.       During the parties’ discussions regarding the privilege log,

Defendants stated that the “purpose” of the Withheld Documents was to “explain to the regulators

that the information they had been provided about Cassava was incorrect, incomplete, and lacked

credibility” and that the regulators therefore “should either not pursue any legal action against



2
      All “Ex. __” references are to the Affidavit of Kevin Lavelle in Support of Plaintiffs’
Opposed Motion to Compel Defendants to Produce Documents Disclosed to The U.S. Securities
and Exchange Commission and U.S. Department of Justice, filed concurrently herewith.

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Cassava or should resolve their inquiries by permitting Cassava to accept the least severe

penalties.” Ex. C at 2 . At no point did Defendants claim that the Withheld Documents were

irrelevant. See id.

         Defendants later claimed that the purported “settlement privilege” referred to in their

privilege log was based on the out-of-circuit case of Goodyear, but were unable to provide any

authority applying Goodyear in this context, by the Fifth Circuit or in this District. See id. at 6.

Nor did Defendants dispute that the SEC Enforcement Manual explicitly prohibits settlement

offers in “white papers.” See id. at 4-5.

         Plaintiffs requested further information to evaluate the privilege claims, but Defendants

refused and declared an impasse. See id. at 1-3. Defendants refused to clarify, for example,

whether the Withheld Documents contained any settlement offer or designation as offers of

compromise under Federal Rule of Evidence 408. See id. Defendants further refused to answer

whether the SEC or DOJ: (i) committed not to use the information in the Withheld Documents in

any subsequent proceeding; (ii) stated that the parties were in settlement negotiations; or

(iii) executed confidentiality agreements with Cassava. Id. This motion followed.

III.     LEGAL STANDARDS

         Waiver of work-product protection occurs when a disclosure has “‘substantially increased

the opportunities for potential adversaries to obtain the information.’” Ecuadorian Plaintiffs v.

Chevron Corp., 619 F.3d 373, 378 (5th Cir 2010). The party asserting waiver of the work-product

privilege bears “the burden of proving [such] waiver.” SEC v. Brady, 238 F.R.D. 429, 444 (N.D.

Tex. 2006).

         “Because privileges are not lightly created” the Fifth Circuit does “not infer one where

Congress has not clearly manifested an intent to create one.” In re Grand Jury Subpoena Dated

Dec. 17, 1996, 148 F.3d 487, 493 (5th Cir. 1998). The “burden of establishing that a settlement

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privilege exists” rests on the party seeking to shield documents from discovery. In re Urethane

Antitrust Litig., 2009 WL 2058759, at *4 (D. Kan. July 15, 2009).

IV.      ARGUMENT

         A.         Defendants Waived Work-Product Protection by Disclosing the
                    Withheld Documents to Adversarial Third Parties

         Defendants’ “voluntary disclosure” of the Withheld Documents to the SEC and DOJ at the

time they were at least “potential adversar[ies]” waived any work-product protection. Mir v. L-3

Commc’ns Integrated Sys., L.P., 315 F.R.D. 460, 470 (N.D. Tex. 2016); Brady, 238 F.R.D. at 444

(disclosure to government investigators “constituted a waiver of work product immunity”).

         Although the Fifth Circuit has not weighed in on this issue, the overwhelming weight of

appellate authority establishes that work-product protection is waived when a party discloses

information to a federal agency during an adversarial investigation. See L-3 Commc’ns, 315

F.R.D. at 470; Brady, 238 F.R.D. at 444.3 Here, where the withheld “‘white papers’” and

“‘presentations’” were “‘generated by counsel during’” the government investigations and

provided to the SEC and DOJ “‘with the specific intent to dissuade the government from bringing



3
         See In re Qwest Commc’ns Int’l Inc., 450 F.3d 1179 (10th Cir. 2006) (collecting cases on
waiver of work-product privilege based on disclosures to investigating agencies); In re
Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 306-07 (6th Cir. 2002)
(holding selective waiver to government agencies is not permitted and noting that the “decision on
whether or not to ‘show your hand’ is quintessential litigation strategy”); In re Steinhardt Partners,
L.P., 9 F.3d 230 (2d Cir. 1993) (finding work-product waiver for memorandum voluntarily
produced to SEC in hope of avoiding enforcement proceeding); Westinghouse Elec. Corp. v.
Republic of Phil., 951 F.2d 1414, 1429 (3d Cir. 1991) (“When a party discloses protected materials
to a government agency investigating allegations against it, it uses those materials to forestall
prosecution (if the charges are unfounded) or to obtain lenient treatment (in the case of well-
founded allegations). These objectives, however rational, are foreign to the objectives underlying
the work-product doctrine.”); see also In re Kidder Peabody Sec. Litig., 168 F.R.D. 459, 472
(S.D.N.Y. 1996) (“[W]hen a corporation provides an otherwise privileged internal investigative
report to the SEC as part of an effort to obtain favorable treatment, it waives the privilege both for
the report and for those underlying documents necessary for the Commission to evaluate the
reliability and accuracy of the report.”).

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suit,’” their disclosure is “‘inconsistent with the purposes behind the attorney work product

doctrine.’” Alaska Elec. Pension Fund v. Bank of Am. Corp., 2017 WL 280816, at *1-*3 (S.D.N.Y.

Jan. 20, 2017). The disclosure of the Withheld Documents to the SEC and DOJ thus waived work

product protection.4

         B.         The “Settlement Privilege” Does Not Shield the Withheld Documents
                    from Discovery

                    1.    This Circuit Does Not Recognize a “Settlement Privilege” and
                          District Courts Have Largely Rejected It

         In relying on the out-of-circuit Goodyear case as justification for their purported

“settlement privilege,” Defendants overlook that “the Fifth Circuit has not recognized an implied

settlement privilege under the federal common law.” Wash.-St. Tammany Elec. Coop., Inc. v. La.

Generating, LLC, 2019 WL 1950394, at *6 (M.D. La. May 1, 2019). The Fifth Circuit is not

alone; neither the Supreme Court nor any other circuit has recognized such a purported privilege.

Two-Way Media LLC v. AT&T Inc., 2011 WL 13113724, at *2 (W.D. Tex. Mar. 7, 2011). Nor

has any court in this District recognized the Goodyear “settlement privilege.”

         Rather, “the majority of courts do not recognize an absolute privilege for settlement

agreements and negotiations.” Id. at *2-*3; see, e.g., Meier v. UHS of Del., Inc., 2021 WL

1226619, at *5 (E.D. Tex. Apr. 1, 2021) (rejecting Goodyear and finding “no [settlement] privilege

applies”); Allergan, Inc. v. Teva Pharms. USA, Inc., 2017 WL 132265, at *3 (E.D. Tex. Jan. 12,

2017) (concluding there is no “federal settlement privilege”); Performance Aftermarket Parts

Grp., Ltd. v. TI Grp. Auto. Sys., Inc., 2007 WL 1428628, at *3 (S.D. Tex. May 11, 2007) (same).

As one court reasoned: “Given the language of Rule 408, the analysis in the foregoing decisions,

and the Fifth Circuit’s jurisprudence with respect to the potential admissibility of settlement



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         Plaintiffs reserve the right to argue that a broader subject matter waiver has occurred.

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negotiations with respect to the interpretation of Consent Decrees,” there is “no basis for holding

that an implied settlement privilege precludes discovery of the settlement negotiations.” La.

Generating, 2019 WL 1950394, at *6.5

         Courts have rejected Goodyear for good reason. As one court observed, “[t]he federal

courts do not enjoy unbridled authority to define new privileges in discovery whenever they see

fit.” Subpoena, 370 F. Supp. 2d at 208. And in reaching its decision, “the court in Goodyear did

not analyze each of the important factors identified by the United States Supreme Court in order

to determine whether a new privilege should be implied under Rule 501.” Matsushita Elec. Indus.

Co. v. Mediatek, Inc., 2007 WL 963975, at *5 (N.D. Cal. Mar. 30, 2007).6 As courts in this Circuit

agree, those factors do not support the judicial creation of such a privilege. See TI Grp., 2007 WL

1428628, at *3; Teva Pharms., 2017 WL 132265, at *3; La. Generating, 2019 WL 1950394, at *6;

UHS of Del., 2021 WL 1226619, at *5 (citing Subpoena, 370 F. Supp. 2d at 209-13, as persuasive

and collecting cases).7


5
        See also, e.g., In re MSTG, Inc., 675 F.3d 1337, 1342 (Fed. Cir. 2012) (declining to adopt
a settlement privilege in light of the factors identified by the Supreme Court in assessing the
propriety of recognizing an implied privilege); In re Subpoena Issued to Commodity Futures
Trading Comm., 370 F. Supp. 2d 201, 208-12 (D.D.C. 2005) (rejecting Goodyear based on
analysis of factors set forth by the Supreme Court and holding no “settlement negotiations”
privilege exists); In re General Motors Corp. Engine Interchange Litig., 594 F.2d 1106, 1124 n.
20 (7th Cir. 1979) (finding “no convincing basis” for proposition that “the conduct of the
settlement negotiations is protected from examination by some form of privilege”); Alfaro v. City
of San Diego, 2018 WL 4562240, at *6 (S.D. Cal. Sept. 21, 2018) (“The Ninth Circuit has not
recognized a settlement negotiation privilege that would shield information from discovery . . . .”).
6
         The six factors are enumerated in Mediatek, Inc., 2007 WL 963975, at *4.
7
        Though some courts in the Eastern District of Texas have applied the settlement privilege
in past patent cases – not in the context of government investigations, like here – none have
undertaken the analysis to determine whether the privilege should be implied under Rule 501. See
Software Tree, LLC v. Red Hat, Inc., 2010 WL 2788202 (E.D. Tex. June 24, 2010). Courts
elsewhere that have conducted that analysis determined, as noted above, that the privilege does
not exist. And, more recently, courts in the Eastern District of Texas have moved away from
applying the settlement privilege in patent cases since the Federal Circuit’s 2010 decision in
ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010), which held settlement
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          Among the compelling reasons for rejecting such a privilege: “Congress chose to promote

th[e] goal” of settling disputes outside the judicial process “through limits on the admissibility of

settlement material rather than limits on their discoverability.” Subpoena, 370 F. Supp. 2d at 210-

11 (emphasis in original); Two-Way Media, 2011 WL 13113724, at *4 (Federal Rule of Evidence

“408 does not provide a rule against disclosure.”). Thus, as one court reasoned, Federal Rule of

Evidence 408 “on its face contemplates that settlement documents may be used for several

purposes at trial, making it unlikely that Congress anticipated that discovery into such documents

would be impermissible.” Subpoena, 370 F. Supp. 2d at 211.8 In fact, the Fifth Circuit previously

rejected the argument that information concerning settlement negotiations in a federally funded

state mediation program is privileged, because “confidential” is not the same as “privileged,” and

Congress manifested no intent to create such a privilege under the statute at issue. Grand Jury

Subpoena, 148 F.3d at 492-93. The Court should thus reject Defendants’ settlement privilege

claims.

                    2.   Even If A Settlement Privilege Could Shield Documents from
                         Discovery, Defendants Have Not Shown It Applies Here

          Even assuming arguendo that a federal settlement privilege exists and can shield relevant

documents from discovery, Defendants cannot carry their burden of showing it applies in this case.

As recognized by a court in this District, Goodyear based its holding on “‘[t]he public policy

favoring secret negotiations, combined with the inherent questionability of the truthfulness of any


negotiations may be relevant in patent cases. See, e.g., Tyco Healthcare Grp. LP v. E-Z-EM, Inc.,
2010 WL 774878 (E.D. Tex. Mar. 2, 2010); Datatreasury Corp. v. Wells Fargo & Co., 2010 WL
903259 (E.D. Tex. Mar. 4 2010).
8
        Even courts within the Sixth Circuit question Goodyear. “Subsequent opinions by lower
courts have also noted that the Goodyear case . . . was a diversity case, and as such, should have
been governed by the controlling state’s law of privilege.” Westlake Vinyls, Inc. v. Goodrich
Corp., 2007 WL 1959168, at *3 (W.D. Ky. June 29, 2007) (“This Court shares its sister district
courts’ ‘latent misgivings’ about the propriety of the rule announced in Goodyear . . . .”).

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statements made therein.’” Two-Way Media LLC, 2011 WL 13113724, at *2 (quoting Goodyear,

332 F.3d at 981). But neither of Goodyear’s policy justifications apply here.

         First, Defendants have provided no evidence that Cassava entered into confidential

settlement negations with the SEC or DOJ, as opposed to merely advocating to obtain a favorable

outcome.       In response to Plaintiffs’ requests, Defendants did not claim they entered into

confidentiality agreements with the SEC and DOJ before disclosing the Withheld Documents, that

the Withheld Documents were designated as settlement materials, or even that the government

acknowledged that settlement discussions were, in fact, occurring. See §II.C., supra. To the

contrary, Defendants conceded that they provided the Withheld Documents to the SEC and DOJ

“with the specific intent to dissuade the government from bringing suit.”

         Second, the assertions in the Withheld Documents are not of questionable truthfulness.

After all, unless Defendants are prepared to admit that the information they provided to the SEC

and DOJ was untruthful, the second prong is not a concern. Indeed, Defendants claim the Withheld

Documents are based on “factual” information taken from documentary evidence and witness

interviews. See Ex. C at 2-3. Such “purely factual” information with “no indication that they

contain the sort of unreliable puffery that warrants protection under the settlement privilege” are

“not the sort of communications the settlement privilege was designed to protect.” Graff v.

Haverhill N. Coke Co., 2012 WL 5495514, at *33 (S.D. Ohio Nov. 13, 2012).

         Defendants’ claim is, moreover, inconsistent with the SEC’s own position regarding the

discoverability of materials provided to persuade the agency during investigations. See In re Initial

Pub. Offering Sec. Litig., 2004 WL 60290, at *3, *5 n.34 (S.D.N.Y. Jan. 12, 2004) (holding Wells

submission, “consist[ing] primarily of . . . argument as to why the particular bank should not be

charged,” “‘may be used as evidence in subsequent proceedings,’” which was “consistent with the

SEC’s position”); see also Subpoena, 370 F. Supp. 2d at 207-08 (noting that the Commodity

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Futures Trading Commission “urge[d] the Court to reject the application of any settlement

privilege to” “protect the documents in this case from third-party discovery”). Defendants have

neither demonstrated that the settlement privilege exists nor that it would be applicable here.

         C.         Defendants’ May Not Selectively Waive Privilege

         By withholding the four documents they produced to the government, Defendants

essentially contend that they may selectively waive privilege over these documents. However, “an

overwhelming amount of authority has found this argument wholly unpersuasive and rejected the

selective waiver doctrine.” Brady, 238 F.R.D. at 440. Even the Sixth Circuit, which decided

Goodyear, has held that a party cannot selectively waive the privilege: “‘The client cannot be

permitted to pick and choose among his opponents, waiving the privilege for some and resurrecting

the claim of confidentiality as to others, or to invoke the privilege as to communications whose

confidentiality he has already compromised for his own benefit.’” HCA, 293 F.3d at 303. After

all, it would be “inconsistent and unfair to allow [Defendants] to select according to their own self-

interest to which adversaries they will allow access to the materials.” In re Subpoenas Duces

Tecum, 738 F.2d 1367, 1372 (D.C. Cir. 1984).

         Plaintiffs are not aware of a single Texas district court that has applied Goodyear to

government investigations. Indeed, in Qwest, the Tenth Circuit declined to recognize “a new

privilege for materials surrendered in a government investigation,” noting that “[m]ore often than

not, the Supreme Court has declined to recognize new privileges.” 450 F.3d at 1197. The Court

should do the same here.

V.       CONCLUSION

         For all the reasons herein, Plaintiffs respectfully request that the Court issue an order

compelling Defendants to produce the four Withheld Documents to Plaintiffs within three days.



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 DATED: April 12, 2024                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on April 12, 2024, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the email addresses on the attached Electronic Mail Notice List, and

I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    /s/ Kevin A. Lavelle
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